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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 IN RE:
                                                    CHAPTER 11
 DULUTH TRAVEL, INC.,
                                                    CASE NO. 18-54894-JRS
        Debtor.


                             NOTICE OF RESET HEARING

        DULUTH TRAVEL, INC. (“Debtor”), filed a Motion for Order Pursuant to 11
U.S.C. §§ 105(a) and 363 Authorizing Debtor to Honor Certain Prepetition Obligations
Nunc Pro Tunc (“Motion”), seeking an order approving payment of certain pre-petition
debts post-petition as further described in the Motion. The original hearing on the Motion
was set for June 19, 2018, and was continued to August 7, 2018. At the hearing on August
7, 2018, counsel for Debtor indicated that the Motion would be reset upon request at the
same time as the Confirmation Hearing.

      Hearing will be held on the Motion in the U.S. Bankruptcy Court, Courtroom 1404,
75 Ted Turner Drive, S.W., Atlanta, Georgia, at 9:30 a.m. on the 18th day of October
2018.

        Your rights may be affected by the court's ruling on these pleadings. You should
read these pleadings carefully and discuss them with your attorney, if you have one in this
bankruptcy case. (If you do not have an attorney, you may wish to consult one.) If you do
not want the court to grant the relief sought in these pleadings or if you want the court to
consider your views, then you and/or your attorney must attend the hearing. You may also
file a written response to the pleading with the Clerk at the address stated below, but you
are not required to do so. If you file a written objection, you must attach a certificate stating
when, how and on whom (including addresses) you served the response. Mail or deliver
your response so that it is received by the Clerk at least three business days before the
hearing. The address of the Clerk's Office is: Clerk, U.S. Bankruptcy Court,75 Ted Turner
Drive, S.W., Room 1340, Atlanta, GA 30303. You must also mail a copy of your response
to the undersigned at the address stated below.




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      Dated: September 10, 2018.
                                      SMALL HERRIN, LLP
                                      Counsel to Debtor

                                      By:   /s/ Anna M. Humnicky
                                            Gus H. Small, GA Bar No. 653200
                                            Anna M. Humnicky, GA Bar No. 377850


2727 Paces Ferry Road
Suite 2-200
Atlanta, GA 30339
(P) (770) 783-1800
gsmall@smallherrin.com
ahumnicky@smallherrin.com
